 

Case: 1:17-cv-06079 Document #: 1-1 Filed: 08/21/17 Page 1 of 15 Page|D #:8

' Attorney No.: 32035
IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
COUNTY DEPARTMENT, LAW DIVISION

SHAKIEMA JOHNSON, individually

)
and on behalf ofa class ) §§§§;§§g§;§§m_i U
of Similarly situated persons, ) Case No.: §§ 365 193 5 60
) Statutory Actiom
Plaintiffs, ) Judge:
)
v. ) JURY DEMANDED c,`:,
) iii F;~ "-3 §":‘
) ' 'l‘ » iii _-;_ (C.;:: .'.;f:
Pizza Hut, Inc., EYM Group, Inc. and ) _ ~ .~ ,;_1..`,4 " l_:
EYM Pizza of lllinois, LLC, ) Damages: over $50,000___-;. ~ ';_ J:'
) _. ._ t ,, . 2
Defendants. ) t *"
m
CoMPLAINT "

Plaintiff, Shakiema Johnson, individually and on behalf of a class of similarly situated
persons, by her undersigned attorney, complains of Defendants, Pizza Hut, Inc., EYM Group,

Inc., and EYM Pizza of Illinois, LLC, as follows:

NATURE OF THE CASE

l. Defendants have violated and continue to violate the Illinois Minimum Wage Law

(“IMWL”), 820 ILCS §lOS/l et seq. and the Illinois Wage Payment and Collection Act
(“IWPCA”), 820 ILCS §llS/l et seq., by refusing and failing to pay Plaintiff and other
similarly situated employees’ wages for all hours worked including overtime wages.

JURISDICTION AND VENUE

This Court has jurisdiction over these claims under the IMLW, 820 ILCS § 105/ lZ(a) and
the IWPCA, 820 ILCS §115/1 l.

Venue is proper in this Court because the Pizza Hut store where Plaintiff works is located

in Chicago, Cook County, lllinois.

 

 

 

Case: 1:17-ov-06079 Dooument #: 1-1 Filed: 08/21/17 Page 2 of 15 Page|D #:9

PARTIES

l. Defendant Pizza Hut, Inc. (“Pizza Hut”) conducts business in the State of lllinois.

2. Pizza Hut is an “employer” as defined by the IMWL, 820 ILCS 105/3(0), and IWPCA,
820 ILCS 115/2.

3. Defendant EYM Group, Inc. (“EYM Group”) conducts business in the State of Illinois.

4. EYM Group is an “employer” as defined by the IMWL, 820 ILCS 105/3(0), and lWPCA,
820 ILCS 115/2.

5. Upon information and belief, EYM Group is a franchisee company that manages
numerous Pizza Hut store locations.

6. Defendant EYM Pizza of Illinois, LLC (“EYM Pizza”) is duly registered to conduct
business in the state of Illinois.

7. Defendant EYM Pizza is an “employer” as defined by the IMWL, 820 ILCS 105/3(0),
and IWPCA, 820 ILCS 115/2.

8. Plaintiff Shakiema Johnson (“Plaintiff”) is female and a resident of the State of Illinois.

9. That during all times relevant herein, Plaintiff was employed by Defendants as an
“employee” as defined by the IMWL, 820 ILCS l05/3(d), and lWPCA, 8201LCS 115/2.

CLASS ALLEGATIONS

10. Plaintiff seeks to represent a class defined as follows: all former and current, non-exempt
Pizza Hut, EYM Group, and EYM Pizza employees nationwide, who were compensated
on an hourly basis, and who were and continue to be denied wages for all hours worked,
including overtime wages, due to them under the IMWL and IWPCA at any time within

the applicable limitations period and continuing through the present.

 

 

Case: 1:17-ov-06079 Dooument #: 1-1 Filed: 08/21/17 Page 3 of 15 Page|D #:10

ll.

12.

13.

14.

15.

This suit is brought pursuant to 735 ILCS 5/2-801 as a class action. Plaintiff and the class
meet all the requirements for class certification

The number of similar situated persons makes joinder impracticable

ln addition, Pizza Hut is a nationwide corporation, EYM Group conducts business in
eight states, and EYM Pizza conducts business in Illinois and lndiana. As such, the
proposed class is geographically dispersed. Other class members worked for Defendants
for short time periods, and suffered relatively limited damages, due to their short duration
of employment These additional factors make joinder impracticable

There are questions of fact common to Plaintiff and the class, and these questions
predominate over any question that may exist With respect to the individual Plaintiff
Common questions of fact include, but are not limited to the following: l) the fact that
Plaintiff and the class were/are all compensated on an hourly basis; 2) the fact that
Plaintiff and the class were/are all subject to the same wage and hour policies and
procedures; 3) that Plaintiff and the class were/are all required to record their in and out
times on the same electronic timekeeping system that was/is used by Defendants to
disregard employees’ hours so employees are unable to obtain overtime hours; and 4) the
fact that Plaintiff and the class were/are all compensated by the same payroll department,
on the basis of common time records, payroll policies, documents and computer systems
In addition, there are questions of law common to Plaintiff and the class, including but
not limited to the following: (l) whether the Defendants’ failure to pay Plaintiff and the
class wages for all hours worked violated the IMWL and IWPCA; and (2) whether the
Defendants’ failure to pay Plaintiff and the class overtime for all hours worked over forty

in a one-week period violated lllinois and Federal law.

 

 

Case: 1:17-ov-060279 Dooument #: 1-1 Filed: 08/21/17 Page 4 of 15 Page|D #:11

l6.

17.

18.

l9.

20.

2l.

22.

23.

Plaintiffs claims are typical of the claims of the absent class members. Plaintiff and the
class she seeks to represent are “employees” within the meaning of the FLSA, 29 U.S.C.
§ 203(d), ll\/IWL, 820 ILCS 105/3(d) and IWPCA, 820 ILCS 115/2. Plaintiff individually
Suffered and was damaged by all violations complained of herein, and is typical of other
hourly employees in all material respects
Plaintiff, by virtue of the fact that she was personally damaged by the acts complained of
herein, has a vested interest in obtaining her unpaid wages and overtime. Plaintiff has
knowingly and willingly undertaken and is able to prosecute these claims on behalf of
herself and all similarly-situated persons.
This is not a collusive or friendly action. Plaintiff has retained counsel experienced in
wage and hour and in class action litigation
Plaintiff and her counsel will fairly and adequately protect the interests of the class.
A class action is the most appropriate method for the fair and efficient resolution of the
matters alleged in this Complaint.

FACTUAL ALLEGATIONS
Defendants utilize a payroll system which requires employees to “check in” on a
computer when starting their shift.
Employees are only able to see the hours they are scheduled to work that week and their
hours for the preceding week. All other hours, whether scheduled or worked, are only
visible by Defendants
Plaintiff began her employment with Pizza Hut in 2015, at a store located at 8849 S.

Stoney lsland Ava, Chicago, lL 60617.

 

 

Case: 1:17-ov-06079 Dooument #: 1-1 Filed: 08/21/17 Page 5 of 15 Page|D #:12

24.

25.

26.

27.

28.

29.

30.

31.

32.

33.

34.

Prior to approximately July 18, 2016, Plaintiff was scheduled to work forty (40) hours per
week on average, but regularly picked up additional shifts.

Plaintiff and her co~workers were consistently paid for their overtime work at a rate of
one and a half times their regular pay.

On or about July 18, 2016, on information and belief there was a corporate reorganization
and/or reacquisition between Defendants

After approximately July 18~, 20l6, Plaintiff was scheduled to work, on average, 35 hours
per week, However, Plaintiff continued to regularly pick up additional shifts.

Plaintiff was never paid time and a half for the hours she worked in excess of forty (40)
hours per week,

Plaintiffs co-workers also ceased being paid time and a half for hours in excess of forty
(40) hours per week.

Plaintiff and other co~workers complained to Flora Jones (“Jones”), store manager, about
not receiving full pay. l

In response, Jones stated that they should speak with someone from Defendants’
corporate offices

Plaintiff called human resources for Defendants and asked why employees were not
being paid for their overtime hours.

In response, a human resource manager stated that Defendants do not pay overtime hours.
Instead, they “pull” employee time cards if they are close to exceeding forty (40) hours.
For illustration, Plaintiff s work week, for the purpose of calculating weekly hours,

begins on Tuesday of each week and ends on the following Monday. However, if an

 

 

Case: 1:17-ov-06079 Dooument #: 1-1 Filed: 08/21/17 Page 6 of 15 Page|D #:13

35.

36.

37.

38.

39.

40.

4l.

42.

43.

44.

45.

46.

employee is close to exceeding forty hours worked, Defendants stop counting that
employee’s hours earlier in the week.
This practice of cutting the work week short had the effect of making it impossible for
employees to be paid for any hours exceeding forty (40) hours in one week.
Defendants are engaging in this practice in order to avoid paying overtime rates to their
employees
This practice also prevents certain Defendants’ employees from being capable of
receiving benefits as employees must be working full time to receive benefits
COUNT I - ILLINOIS MINIMUM WAGE LAW
Plaintiff incorporates the preceding paragraphs by reference herein.
At any and all time relevant hereto, Plaintiff performed labor services for Defendants
The IMWL requires that employers covered by the Act pay wages at a specific amount
The failure to pay any wages constitutes a violation of the IMWL requirement that
employees are paid wages at the minimum wage pursuant to 820 ILCS § 105/4(a).
Plaintiff frequently Worked hours for which Defendants did not provide compensation
Defendants were aware that Plaintiff was working more hours than she was originally
scheduled to work, but nevertheless allowed such work to continue without
compensation
Defendants’ conduct was willful and done with the purpose and intent of depriving
employees of all wages due to them.
As a result of Defendants’ practices, Plaintiff failed to receive due wages for regular
hours worked.

As such, Defendants have violated the lMWL, 820 ILCS 105/4(a).

 

 

Case: 1:17-ov-06079 Dooument #: 1-1 Filed: 08/21/17 Page 7 of 15 Page|D #:14

PRAYER FOR RELIEF

WHEREFORE, Plaintiff Shakiema Johnson respectfully requests that this Court enter an '

order as follows:

21.

g.

To enter judgment in favor of the Plaintiff and the class she represents, and against
Defendants for a judgment for all back wages due, as provided by the Illinois
Minimum Wage Law, 820 ILCS 105/ et seq:

Order a permanent injunction prohibiting Defendants from further acts of not
properly compensating their employees for hours worked.

For a prejudgment interest on the back wages in accordance with 815 ILCS 205/2 and
punitive damages under the Illinois Minirnum Wage Law, 820 ILCS 105/12a;

Award Plaintiff an additional 2% of the amount of any such underpayments for each
month following the date of payment during which such underpayments remain
unpaid for Defendants’ willful and wanton conduct;

For reasonable attomey’s fees and costs of this action as provided by the Illinois
Minimum Wage Law, 820 ILCS 105/l et seq.;

Award Plaintiff all remedies and relief available under The Illinois Minimum Wage
Law; and

Grant such other and further relief as this Court deems just and proper.

COUNT II - VIOLATIONS OF THE ILLINOIS MINIMUM WAGE ACT

47. Plaintiff incorporates the preceding paragraphs by reference herein

 

 

Case: 1:17-ov-06079 Dooument #: 1-1 Filed: 08/21/17 Page 8 of 15 Page|D #:15

48.

49.

50.

5l.

52.

53.

Defendants did not pay Plaintiff overtime wages for all hours worked in excess of forty
(40) in each week, at the rate of one and one half their regular rate in violation of the
maximum hours provision of the Illinois Minimum Wage Law, 820 ILCS 105/4a(l).
Plaintiff frequently worked hours for which Defendants did not provide compensation
Defendants were aware that Plaintiff was working more hours than she was originally
scheduled to work, but nevertheless allowed such work to continue without
compensation
Defendants’ conduct was willful and done with the purpose and intent of depriving
employees of all overtime wages due to them.
As a result of Defendants’ practices, Plaintiff failed to receive due wages for regular
hours worked.
As such, Defendants have violated the IMWL, 820 ILCS 105/4a(l).

PRAYER FOR RELIEF

WHEREFORE, Plaintiff Shakiema Johnson respectfully requests that this Court enter an

order as follows:

a. To enter judgment in favor of the Plaintiff and the class she represents, and against
Defendants for a judgment for all back wages due, as provided by the Illinois
Minimum Wage Law, 820 ILCS 105/1 et seq;

b. Order a permanent injunction prohibiting Defendants from further acts of not
properly compensating their employees for hours worked.

c. Award Plaintiff and each and every class member she represents 2% of the amount of
any such underpayments for each month following the date of payment during which

such underpayments remain unpaid;

 

 

Case: 1:17-ov-06079 Dooument #: 1-1 Filed: 08/21/17 Page 9 of 15 Page|D #:16

54.

55.

56.

57.

58.

d. Award Plaintiff and each and every class member she represents an additional 2% of
the amount of any such underpayments for each month following the date of payment
during which such underpayments remain unpaid for Defendants’ willful and wanton
conduct;

e. For reasonable attorney’s fees and costs of this action as provided by the Illinois
Minimum Wage Law, 820 ILCS 105/l et seq.;

f. Award Plaintiff all remedies and relief available under The Illinois Minimum Wage
Law; and

g. Grant such other and further relief as this Court deems just and proper.

COUNT 111-ILLINOIS WAGE PAYMENT AND COLLECTION ACT

Plaintiff incorporates the preceding paragraphs by reference herein

At any and all times relevant hereto, at Defendants’ request, Plaintiff performed labor

services for Defendants

Defendants promised and agreed to pay Plaintiff for said labor at hourly rates which

varied during the relevant time period and pursuant to Illinois Wage Payment and

Collection Act, 820 ILCS 115/ et seq., Plaintiff is entitled to be paid for her wages,

pursuant to this agreement

Defendants promised and agreed to pay Plaintiff overtime wages at a rate of one and one-

half times her regular rates of pay for hours worked over forty hours in a one-week

period.

Defendants have failed, neglected, or refused to pay Plaintiff all of her regular and

overtime wages pursuant to 820 ILCS 115/4; and as a direct and proximate result thereof,

Plaintiff and the class she represents has suffered great economic damages

 

 

Case: 1:17-ov-06079 Dooument #: 1-1 Filed: 08/21/17 Page 10 of 15 Page|D #:17

PRAYER FOR RELIEF
WHEREFORE, Plaintiff Shakiema Johnson respectfully requests that this Court enter an
order as follows:
a. To enter judgment in favor of the Plaintiff and the class she represents, and against
Defendants for the back wages due, plus prejudgment interest at the statutory rate
pursuant to 815 ILCS 205/2;
b. Order a permanent injunction prohibiting Defendants from further acts of not
properly compensating their employees for hours worked.
c. Award Plaintiff and each and every class member she represent an amount equal to
2% of the amount of any such under payments for each month following the date of
payment during which such under payments remain unpaid;
d. For reasonable attorney’s fees and costs of this action as provided by the Illinois
Attorneys’ Fees in Wage Actions Act, 705 ILCS 225/1;
e. Award Plaintiffs all remedies and relief available under The Wage Payment and
Collection Act;
f. Grant such other and further relief as this Court deems just and proper.
Respectfully Submitted,
Shakiema Johnson,
By: /s/ Adrian Jonak
One of Her Attomeys
Uche O. Asonye - 6209522
Adrian Jonak - 6324128
Asonye & Associates
100 North LaSalle Street, Suite 2115
Chicago, Illinois 60602
(312) 795-9110

uasonye@aa-law.com
aj onak@aa-law.com

10

 

 

 

 

Case: 1:17-ov-06079 Dooument #: 1-1 Filed: 08/21/17 Page 11 of 15 Page|D #:18

2120 - Served 2121 - Served
2220 - Not Served 2221 - Not Served _
2320 - Served By Mail 2321 - Served By Mail ' .

2420 - Served By Publication 2421 - Served By Pi'lblication

 

 

 

Summons - Alias Summons (01/25/17) CCG N001
IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
Shakiema Johnson, individually and on behaif of a class of similarly situated persons go 1 ?L 0 07 1 o 2
. EALENDAR/RDUM Ll
(Name all parries) ~!-I HE go = 06
v‘ No. Btz-i'§'i,st_'nr'v Ar~+'ii mm

 

Pizza Hut, lnc., EYM Group, |ric., EYM Pizza of illinois LLC

 

® SUMMONS 0 ALlAS SUMMONS
TO each Defendant_ . c/o CT Corporation System, 208 S. LaSa||e St., Ste. 814,
' Pizza Hut, lnc. Chicago, |L 60604
YOU ARE SUMMONED and required to file an answer to the complaint in this case, a copy of which is hereto
attached, or otherwise file your appearance, and pay the required fee, in the Office of the Clerk of this Court at the

followin_ locations
Richard ]. Daley Center, 50 \Y/. Washington, Room 801 , Chicago, Illinois 60602
I:] District 2 - Skokie ij District 3 - Rolling Meadows El Districr 4 - Maywood
5600 Old Orchard Rcl. 2121 Euclid 1500 Maybrook Dr.
Skokie, IL 60077 Rolling Meadows, IL 60008 Maywood, IL 60153
m District 5 - Bridgeview l:l District 6 - Markham 16501 l:l Child Support: 50 W.
10220 S. 76th Ave. S. Kedzie Pkwy. Markham, Washington, LL-Ol,
Bridgeview, IL 60455 IL 60428 Chicago, lL 60602

You must file within 30 days after service of this Summons, not counting the day of service.

IF YOU FAIL TO DO SO, A ]UDGMENT BY DEFAUL'I` MAY BE ENTERED AGAINST YOU POR THE
RELIEF REQUESTED IN THE COMPLAINT.

To the Officer:

This Summons must be returned by the officer or other person to whom it was given for service, With endorsement
of service and fees, if any, immediately after service. If service cannot be made, this Summons shall be returned so
endorsed 'lhis Summons may not be served later than thirty (30) days after its date.

DOROTHY BROWN JUL l tZBU.'
lArry. No.: 32035 Wim¢ss¢ ctERi< oFciRcuircouRr

"".r

  

Nam@; Uche O. Asonye

 

 

Acgy_ fog Asonye and Associates
Addr€$$: 100 N. LaSaile Street, Suite 2115

City/State/Zip Code: Chicago' "- 60602
Telephone: (312) 795-9110

 

 

Primal')’ Email: uasonye@aa_|aw`eom **Service by Facsimile Trarismission will be accepted at:
Secondary Email: uasonye@aa-law.com

 

 

Terdary Email: (Area Code) (Facsimile Telephone Nurnber)

 

DOROTHY BROWN, CLERK OF THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
Page l ofl

ge 12 of 15 Page|D #:19

/

' - 03/21/17 Pa
. . _ -06079 Docum€n
Case. 1.17 CV

; \\\\\"\\\`§§\:

»OthmNmmt

UOO.._.<dm.. r><<
nbwmzc~smmm" ,E._.oodom

Umwmzbbz.w
INN> IC,_. _ZO
wom m r>m>§rm w._.
OI_O>OO. xi momoA
mHm m3

O_m U>._.m
om\ow\»oa w

mmm<_nm _Zm
I_<_ mg O\O .
m<m._.m§

>.~.._.>DImU

 

Case: 1:17-ov-06079 Dooument #: 1-1 Filed: 08/21/17 Page 13 of 15 Page|D #:20

 

 

 

2120 - Served 2121 - Served
2220 - Not Served 2221 - Not Served ,
2320 - Served By Mail 2321 - Served By Mail .
2420 - Served By Publication 2421 - Served By Publication
Summons - Alias Summons (01/25/17) CCG Nool
IN THE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
Shakiema Johnsdn. individually and on behalf of a class of similarly situated persons
(Name all parties) 201?&`007 102
v C§LENDAR/RUUN U
‘ No. T '1 HE`-' fin 2 911

 

Etatutory Action
Pizza Hut, lnc., EYM Group, |nc., EYM Pizza of lllinols, LLC

 

® SUMMONS 0 ALIAS SUMMONS
c/o CT Corporation System, 208 S. LaSalle St., Ste. 814,

T° each Defenda““ Pizza Hut, lnc. chicago, lt 60604
YOU ARE SUMMONED and required to file an answer to the complaint in this case, a copy of which is hereto
attached, or otherwise file your appearance, and pay the required fee, in the Office of the Clerk of this Court at the

followin_ location:
Richard ]. Daley Center, 50 \X/. Washington, Room 801 , Chicago, Illinois 60602
l:] District 2 - Skokie [:] District 5 - Rolling Meadows I:] District 4 - Maywood
5600 Old Orchard Rd. 2121 Euclid 1500 Maybrook Dr.
Skokie, IL 60077 Rolling Meadows, IL 60008 Maywood, IL 60153
l:l District 5 - Bridgeview I:l District 6 - Markham 16501 l:] Child Support: 50 W.
10220 S. 76th Ave. S. Kedzie Pkwy. Markharn, Washington, LL-Ol,
Bridgeview, IL 60455 IL 60428 Chicago, lL 60602

You must file within 30 days after service of this Summons, not counting the day of service.

IF YOU FAIL TO DO SO, A ]UDGMENT BY DEFAULT MAY BE ENTERED AGAINST YOU FOR THE
RELIEF REQUESTED IN THE COMPLAINT.

To the Officer:

This Sumrnons must be returned by the officer or other person to whom it was given for service, With endorsement
of service and fees, ifany, immediately after service. If service cannot be made, this Summons shall be returned so
endorsed This Summons may not be served later than thirty (30) days after its date.

DOROTHY BRGWN
lArry. No.: __32°35 Wim€$$f treas nrca»uirccier

 
   
 

Name; Uche O. Asonye

 

 

 

 
    
   

 

 

 

Atry. for; Asonye and Associates DORO H'Y;B ©“ \ q GW
Address: 100 N. LaSalle Street, Suite 2115 W,‘, ;:

Ciry/Srare/Z,ip Code: CthaQO, lL 60602 Date ofService: ' . _ 5' 1

Telephone; (312) 795~9110 (TO be inserted by Om 11 hFOW-l;\» ` DCandant Ot‘ Other person)
Primary Email: uasonye@aa"aw‘€°m **Service by Facsimile Transmission will be accepted at:

 

 

Secondary Email: uasonye@aa-law.com

 

Tertiary Email: (Area Code) (Facsimile Telephone Number)

 

DOROTHY BROWN, CLERK OF THE CIRCUIT COURT OF COGK COUNTY, ILLINOIS

Page l of l

 

Case: 1:17-ov-06079 Dooument #: 1-1 Filed: 08/21/17 Page 14 of 15 Page|D #:21

_

UOQ.._.<an _r><<
n>wm ZC_<_mmY _.\.roo.`.._®w

 

 

 

 

 

 

 

_______ _____ ___ ______ ___ ______ see

tON\)wwNwmr

 

 

 

 

 

 

 

 

Umnsz>Z._. mmm<_Om _Zm
U_NN> IC._l _ZO I_<_ mo._ O\O_
whom m _r>w>r_¢m m._. m<m._.m_<_
OI_O>OO. F memos
m._.m m._.»

>.~._.>nImU

Case: 1:17-ov-06079 Dooument #: 1-1 Filed: 08/21/17 Page 15 of 15 Page|D #:22

Service of Process
Transmitta|
07/20/2017

CT Log Number 531610402

 

* CT Corporation

To: Sarah Jordan, Paralegal
Pizza Hut of America, Ll_C
7100 Corporate Dr
, Plano, TX 75024-4100

RE: Process Served in lllinois

FOR: Pizza Hut, lnc. (Domesti‘c State: CA)
According to our records representation services for this entity have been discontinued in this jurisdiction

ENCLOSED ARE COP|ES OF LEGAL PROCESS RECE|VED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

T|TLE OF ACT|ON:

nocuMENT(s) sERvEn:

COURT/AGENCY:

NATURE OF ACTlON:

ON WHOM PROCESS WAS SERVED:

DATE AND HOUR OF SERVICE:
URISD|CT|DN SERVED :
APPEARANCE OR ANSWER DUE:

ATToRNEY(s) l sENoER(s):

ACT|ON lTEMS:

SlGNED:
ADDRESS:

TELEFHONE:

SHAKlEMA JOHNSON, individually and on behalf of a class of similarly situated
persons, Pltf. vs. Pizza Hut, |nc., et al., ths.

Summonses, Attachment(s), Complaint

Cook County Circuit Court - County Department - Law Division, |L
Case # 2017L007102

Plaintiff's respectfully requests that this Court enter an order against violations of
the illinois minimum wage act (See Document(s) for additional information)

C T Corporation System, Chicago, lL

By Process Server on 07/20/2017 at 10:30

illinois

Within 30 days after service of this Summons, not counting the day of service

Adrian Jonak

Asonye & Associ'ates

100 North LaSalle Street, Suite 2115
Chicago,, lL 60602

(312) 795-9110

CT has retained the current log, Retain Date: 07/20/2017, E)<pected Purge Date:
07/25/2017

image SOP
Email Notificati’on, Sarah Jordan sarah.jordan@yum.com

Email Noti'fication, Chris Cassano chris.cassano@yum.com

C T Corporation System
208 South LaSalle Street
Suite 814

Chicago, lL 60604
312-345-4336

Page 1 of 1 /AK

information displayed on this transmittal is for CT
Corporation's record keeping purposes only and is provided to
the recipient for quick reference This information does not
constitute a legal opinion as to the nature of action, the
amount of damages the answer date, or any information
contained in the documents themselves Reci'pient is
responsible for interpreting said documents and for taking
appropriate action. Signatures on certified mail receipts
confirm receipt of package only, not contents

 

